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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  NICOLAS ANDRADE-ALCOCER,                          )
                                                    )
                                 Petitioner,        )
                                                    )
                      vs.                           )   Case No. 1:13-cv-01369-TWP-DKL
                                                    )   Case No. 1:11-cr-25-TWP-TAB-1
  UNITED STATES OF AMERICA,                         )
                                                    )
                                 Respondent.        )



               Entry Discussing Motion for Relief Pursuant to 28 U.S.C. ' 2255

        Having agreed with the United States to resolve several criminal charges against him,

 having entered a plea of guilty to those charges, and having been sentenced in accord with the

 plea agreement, Nicolas Andrade-Alcocer now seeks to vacate, set aside or correct his sentence

 pursuant to 28 U.S.C. ' 2255.

        The court, having considered Andrade-Alcocer’s motion and the records and files in the

 underlying criminal action, and being duly advised, finds that Andrade-Alcocer’s ' 2255 motion

 must be summarily denied and dismissed pursuant to Rule 4 of the Rules Governing Section

 2255 Cases in the United States District Courts, which provides that “[i]f it plainly appears from

 the motion, any attached exhibits, and the record of prior proceedings that the moving party is

 not entitled to relief, the judge must dismiss the motion. . . .” This conclusion is based on the

 following facts and circumstances:

        1. Andrade‐Alcocer pleaded guilty to conspiring to distribute methamphetamines. 21

 U.S.C. §§ 846, 841(a)(1). At sentencing the Court calculated a guidelines range of 262 to 327
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 months’ imprisonment—and sentenced him to 262 months, consistent with the parties’ joint

 recommendation. Plea Agreement, dkt. 371 at ¶ 12.

        2.      In his plea agreement, Andrade‐Alcocer waived his right to appeal his conviction

 and any sentence imposed on any ground and “expressly agree[d] not to contest his conviction or

 sentence or seek to modify his sentence or the manner in which it was determined in any type of

 proceeding, including, but not limited to, an action brought under 28 U.S.C. § 2255.” Plea

 Agreement, Dkt. 371 at ¶ 11.

        2.      Andrade‐Alcocer’s direct appeal of his sentence was dismissed by the Seventh

 Circuit. The Circuit Court explained:

        The terms of the appeal waiver expressly forbid a challenge to the reasonableness
        of the sentence. Nor could Andrade‐Alcocer now challenge the waiver by
        contesting the voluntariness of the plea agreement; he has already told his counsel
        that he does not wish to challenge the plea. See United States v. Sakellarion, 649
        F.3d 634, 639 (7th Cir. 2011) (noting that appellate waiver stands or falls with
        plea agreement as a whole). In any event, a challenge founded on voluntariness
        would be frivolous: Andrade‐Alcocer entered into the agreement after a plea
        colloquy that substantially complied with Federal Rule of Criminal Procedure 11.

 United States v. Nicolas Andrade-Alcocer, No. 12-1866 (7th Cir. January 30, 2013) (Slip

 Opinion), see also dkt. 650.

        3.      In his § 2255 motion Andrade‐Alcocer insists (as he did in his direct appeal) that

 the Court miscalculated his guideline range and his sentence is therefore excessive. As on direct

 appeal, the issues raised by Andrade‐Alcocer fall within the scope of his appeal waiver and

 cannot be considered in this action.

        4.      The record indisputably shows that Andrade‐Alcocer knowingly and voluntarily

 entered into the waiver provision in this case, and that provision is equally enforceable as to

 bringing an action pursuant to ' 2255 as to filing an appeal.
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        Given these circumstances, Andrade‐Alcocer’s motion for relief pursuant to § 2255 is

 barred by the appellate waiver provision in the plea agreement. As such, Andrade‐Alcocer’s

 motion pursuant to 28 U.S.C. § 2255 to vacate, set aside, or correct sentence is DENIED.

 Judgment consistent with this Entry shall now issue.

        IT IS SO ORDERED.




        10/02/2013
 Date: __________________                          ________________________
                                                   Hon. Tanya Walton Pratt, Judge
                                                   United States District Court
                                                   Southern District of Indiana




 Distribution:

 NICOLAS ANDRADE-ALCOCER
 LOMPOC - FCI
 LOMPOC FEDERAL CORRECTIONAL INSTITUTION
 Inmate Mail/Parcels
 3600 GUARD ROAD
 LOMPOC, CA 93436
